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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



 SECURITIES AND EXCHANGE
 COMMISSION,

                                Plaintiff,                    Civil Action No. 24-CV-12586
         v.


 MAXWELL HERNANDEZ, a/k/a
 “MaxEquation,”



                                Defendant.


               JUDGMENT AS TO DEFENDANT MAXWELL HERNANDEZ

       The Securities and Exchange Commission having filed a Complaint and Defendant

Maxwell Hernandez having entered a general appearance; consented to the Court’s jurisdiction

over Defendant and the subject matter of this action; consented to entry of this Judgment; waived

findings of fact and conclusions of law; and waived any right to appeal from this Judgment:

                                                I.

       IT IS ORDERED, ADJUDGED, AND DECREED that Defendant is permanently

restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Securities

Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Exchange Act Rule 10b-5

[17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate commerce, or of the

mails, or of any facility of any national securities exchange, in connection with the purchase or

sale of any security:


       (a)     to employ any device, scheme, or artifice to defraud;
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        (b)     to make any untrue statement of a material fact, or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading, or


        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person


by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any person about

the price or trading market for any security, or (ii) making any false or misleading statement, or

disseminating any false or misleading documents, materials, or information, concerning matters

relating to a decision by an investor or prospective investor to buy or sell securities of any

company.


        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:


        (a)     to employ any device, scheme, or artifice to defraud;

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       (b)     to obtain money or property by means of any untrue statement of a material

               fact or any omission of a material fact necessary in order to make the statements

               made, in light of the circumstances under which they were made, not

               misleading; or


       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.


by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any person about

the price or trading market for any security, or (ii) making any false or misleading statement, or

disseminating any false or misleading documents, materials, or information, concerning matters

relating to a decision by an investor or prospective investor to buy or sell securities of any

company.


       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                               III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Sections 5(a) and 5(c) of the Securities Act

[15 U.S.C. §77e(a) and 77e(c)] by, directly or indirectly, in the absence of any applicable

exemption:




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       (i)     Unless a registration statement is in effect as to a security, making use of any

               means or instruments of transportation or communication in interstate commerce

               or of the mails to sell such security through the use or medium of any prospectus

               or otherwise; or

       (ii)    Making use of any means or instruments of transportation or communication in

               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium of any prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date of the registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [15 U.S.C. §77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                               IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating Section 9(a)(2) of the Exchange Act [15

U.S.C. § 78i(a)(2)] by directly or indirectly, using the mails or any means or instrumentality of

interstate commerce, or of any facility of any national securities exchange, or for any member of

a national securities exchange:




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       (i)     To effect, alone or with one or more other persons, a series of transactions in any

               security registered on a national securities exchange, any security not so

               registered, or in connection with any security-based swap or security-based swap

               agreement with respect to such security creating actual or apparent active trading

               in such security, or raising or depressing the price of such security, for the

               purpose of inducing the purchase or sale of such security by others.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant to Section

21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and/or Section 20(e) of the Securities Act

[15 U.S.C. § 77t(e)], Defendant is prohibited from acting as an officer or director of any issuer

that has a class of securities registered pursuant to Section 12 of the Exchange Act [15 U.S.C.

§ 78l] or that is required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C.

§ 78o(d)].

                                               VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

restrained and enjoined from participating, directly or indirectly, including, but not limited to,

through any entity controlled by him, in any offering of securities, including any crypto asset

security, provided however, that such injunction shall not prevent him from purchasing or selling



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securities, including crypto asset securities, for his personal account.

                                              VII.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

shall pay disgorgement of ill-gotten gains and prejudgment interest thereon; that the amounts of

the disgorgement and civil penalty shall be determined by the Court upon motion of the

Commission; and that prejudgment interest shall be calculated from July 2021, based on the rate

of interest used by the Internal Revenue Service for the underpayment of federal income tax as

set forth in 26 U.S.C. § 6621(a)(2). Upon motion of the Commission, the Court shall determine

whether a civil penalty pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and

Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)] is appropriate and, if so, the

amount of the penalty. In connection with the Commission’s motion for disgorgement and/or

civil penalties, and at any hearing held on such a motion: (a) Defendant will be precluded from

arguing that he did not violate the federal securities laws as alleged in the Complaint; (b)

Defendant may not challenge the validity of the Consent or this Judgment; (c) solely for the

purposes of such motion, the allegations of the Complaint shall be accepted as and deemed true

by the Court; and (d) the Court may determine the issues raised in the motion on the basis of

affidavits, declarations, excerpts of sworn deposition or investigative testimony, and

documentary evidence, without regard to the standards for summary judgment contained in Rule

56(c) of the Federal Rules of Civil Procedure. In connection with the Commission’s motion for

disgorgement and/or civil penalties, the parties may take discovery, including discovery from

appropriate non-parties.

                                              VIII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of



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exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation by Defendant of the federal securities

laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                              IX.

       It Is Further Ordered, Adjudged, And Decreed that this Court shall retain jurisdiction of

this matter for the purposes of enforcing the terms of this Judgment.




Dated: April 15th, 2025
                                                /s/ Angel Kelley
                                              ________________________________
                                              UNITED STATES DISTRICT JUDGE




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